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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA                                         ~~
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UNITED STATES OF AMERICA,                      CASE NO. 14cr10       JLS

                        Plaintiff,
                 vs.                           JUDGMENT OF DISMISSAL
ALONDRA RIVERA,

                        Defendant.


          IT APPEARING that               defendant is now ent     led to be discharged
for the reason that:

     an indictment has been filed in another case    inst the defendant and
         Court has granted     motion of the Government for dismissal of
     this case, without prejudice; or

         Court has dismissed the case for unnecessary delay; or

___x_ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

        Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     gui y; or

     the jury has returned its verdict, finding the                 fendant not guilty;

__
 x __ of the offense(s) as charged in the Information:

     8: 1324 (a) (1) (A) (ii), (v) (II)



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 5/1/14
                                                JanM'~'~
                                                U.S. Magistrate Judge
